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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

WACO DIVISION
WSOU Investments LLC
VS. Case No.: 6:20-cv-00580-ADA
Google LLC

MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

Comes now Daniele San Roman , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent Google LLC in this case, and

would respectfully show the Court as follows:

l. Applicant is an attorney and a member of the law firm (or practices under the name of)
JONES DAY with offices at:

Mailing address: 51 Louisiana Avenue, N.W.

City, State, Zip Code: Washington, D.C. 20001

Telephone; 202-879-3939 Facsimile; 202-626-1700

 

2. Since 2919 , Applicant has been and presently is a

member of and in good standing with the Bar of the State of District of Columbia

 

Applicant's bar license number is 1673021
3. Applicant has been admitted to practice before the following courts:
Court: Admission date:

Court of Appeals for the Federal Cir. 10/3/2022

 

 
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Applicant is presently a member in good standing of the bars of the courts listed above,
except as provided below (list any court named in the preceding paragraph before which

Applicant is no longer admitted to practice):

 

 

 

 

 

 

I | have have not previously applied to Appear Pro Hac Vice in this district

 

 

court in Case[s]:

 

 

 

Number: 6:20-cv-00894-ADA onthe | day of April _ 2021
Number; 6:20-cv-01080-ADA onthe 1 day of APtil 2021
Number: on the day of ;

Applicant has never been subject to grievance proceedings or involuntary removal
proceedings while a member of the bar of any state or federal court, except as

provided:

In 2022, my D.C. bar membership was temporarily suspended due to an inadvertent
failure to timely pay dues. The dues were promptly paid as soon as the oversight was
discovered, and the D.C. bar membership was promptly reinstated. | have not
otherwise been disbarred or suspended, and I am not the object of any pending
disciplinary proceedings in any jurisdiction.

Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

except as provided below (omit minor traffic offenses):

N/A

Applicant has read and is familiar with the Local Rules of the Western District of Texas

and will comply with the standards of practice set out therein.
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9, Applicant will file an Application for Admission to Practice before the United States
District Court for the Western District of Texas, if so requested; or Applicant has
co-counsel in this case who is admitted to practice before the United States District
Court for the Western District of Texas.

Co-counsel: Michael E. Jones

 

Mailing address: Potter Minton, 102 North College, Suite 900

 

City, State, Zip Code: Tyler, TX 75702

Telephone: (903) 597-8311

 

Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac
vice fee in compliance with Local Court Rule AT-I(f)(2) [checks made payable to: Clerk, U.S. District
Court].

Wherefore, Applicant prays that this Court enter an order permitting the admission of

Daniele San Roman to the Western District of Texas pro hac vice for this case only.

 

Respectfully submitted,

Daniele San Roman

de name of Applicant]

[signature of Applicant]

 

CERTIFICATE OF SERVICE

I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the 29 day of March , 2023

Daniele San Roman

 

[printed name of Applicant]

* -

(signature of Applicant]
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

WACO DIVISION

WSOU Investments LLC

VS. Case No.: 6:20-cv-00580-ADA
Google LLC

ORDER
BE IT REMEMBERED on this day, there was presented to the Court the Motion for

Admission Pro Hac Vice filed by Daniele San Roman , counsel for

Google LLC , and the Court, having reviewed the motion, enters

 

the following order:

IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and

Daniele San Roman may appear on behalf of Google LLC

 

 

in the above case.

IT IS FURTHER ORDERED that Daniele San Roman , if he/she
has not already done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.
District Court, in compliance with Local Court Rule AT-I(f(2).

SIGNED this the day of March 20

 

UNITED STATES DISTRICT JUDGE
